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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

BRUCE KATZ, M.D., P.C
individually and on behalf of all                             Case No. 21-cv-7646
others similarly situated,

       Plaintiff,

V.

ADVANCED DIAGNOSTIC
SOLUTIONS LLC,

       Defendant.
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                               STIPULATION OF DISMISSAL

       The parties file this Stipulation of Dismissal pursuant to Fed. R. Civ. P. 4l (a)(l)(A)(ii).

The putative class claims are dismissed without prejudice.


Dated: February 9, 2022               PLAINTIFF BRUCE KATZ, M.D., P.C.,

                                      By:

                                       �b=:
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                                      DEFENDANT ADVANCED DIAGNOSTIC
                                      S        LLC
                                       �          .

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 9, 2022, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by email to all parties by operation of the court's electronic filing system.


                                                       Isl Anthony I. Paronich
                                                       Anthony I. Paronich




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